EXHIBIT C
EMPLOYEE
GUIDEBOOK
Dedicated to our family of employees.
Thank you for your support as we make
this the best place it can be.

January 1, 2018
   Promotional plans that could be            must abide by the provisions within.
   interpreted to involve unusual gain
   require specific approval from the      12.	 As an employee of Southern HVAC,
   CEO (or his designee).                       you may come into contact with
                                                confidential information, as defined
9.	 You may not allow a business                in the Confidentiality policy in this
    or financial transaction to be              guidebook. You must abide by our
    structured or recorded in a way that        Confidentiality policy at all times
    is inconsistent with normal business        while working for Southern HVAC
    practices.                                  and after separation.

10.	Southern HVAC has a number of          13.	While working at Southern HVAC,
    protected trademarks, including            you may not perform or solicit work
    logos, words, names, symbols,              for a customer, visitor, vendor, or
    brands, and others that are used           supplier of the company for personal
    to identify and distinguish the            gain and you may not enter into
    company’s business, products,              a reciprocal agreement with a
    and services. With respect to using        customer or supplier of Southern
    such items, you must abide by all          HVAC. This pertains to solicitation
    copyright and other intellectual           of customers during work time
    property laws. This includes, but          and outside of work time. Our
    is not limited to, laws governing          customer list (written or unwritten) is
    copyright, fair use of copyrighted         exclusive and confidential company
    material owned by others,                  property and may not be used to
    trademarks, and other intellectual         solicit business outside the scope
    property.                                  of the company. Employees found
                                               misusing the company’s customer
11.	 Customers of Southern HVAC                list or soliciting customers for non-
     are just that . . . customers             company business are subject to
     of Southern HVAC. We have                 immediate termination.
     invested a significant amount
     of time and money in obtaining        14.	As a Southern HVAC employee,
     and keeping our customers. In             you must conduct your personal
     the event that you leave our              and non-company affairs in such
     company, if you are bound by the          a fashion that your duties and
     provisions of our Confidentiality &       responsibilities to the company are
     Non-Solicitation Agreement, you           not jeopardized, and ethical and/


                                                ©2018 Southern HVAC Employee Guidebook   5
     Electronic Systems Use                        Information Systems General Policy:
                                                   Transmission or reception of any
     Southern HVAC provides hardware and           material in violation of government
     software systems                              regulations or company policies is
     to employees in certain positions to          prohibited. This includes, but is not
     assist in conducting company business.        limited to, copyrighted material;
     These systems may include, but are            threatening, obscene, or harassing
     not limited to, electronic mail (e-mail),     material or messages; chain letters;
     laptops and desktop computers, tablets,       confidential information (as explained in
     electronic files, electronic databases,       our Confidentiality policy); trade secrets;
     software applications, operating              and proprietary financial information.
     systems, the company intranet, Internet
     access, phone systems, voice mail             Our Confidentiality policy in this
     systems, facsimile machines, mobile or        guidebook applies to information in all
     cellular phones, and all other electronic     its forms, including business-related
     devices, all of which are collectively        messages in these electronic systems.
     referred to as “electronic systems.”          Such confidential information must not
                                                   be forwarded by means of our electronic
                              If you use           systems to any individuals outside the
                              company              company under any circumstances.
                              electronic           Also, when transmitting such
                              systems for any      information within the company, it must
                              purpose that is      be sent only to those recipients who are
                              illegal or against   authorized to receive it. Do not leave
                              company policy,      electronic systems messages containing
                              you may be           confidential or proprietary information
     subject to disciplinary action up to and      on your screen when you are away
     including termination of employment.          from your workstation. If you become
     In accordance with the National Labor         aware of a violation of the security of the
     Relations Act and other applicable            company’s electronic systems, you must
     law, nothing in this policy is intended       immediately notify Human Resources.
     to interfere with, restrain, or prohibit      Employees who have been given access
     employees from discussing wages,              to the Southern HVAC e-mail system
     hours or other terms and conditions           in the course of their work may use
     of employment, or engaging in other           the e-mail system to send coworkers
     legally protected activity.                   messages regarding working terms and
                                                   conditions. No group solicitation emails

62   January 2018
     protect employees from inappropriate        designated areas only during approved
     charges of mishandling funds by             work breaks and during your meal
     defining his/her responsibilities in the    break. You may not take additional
     cash handling process. By accepting         “smoke breaks” throughout the day.
     employment in a cash handling position,     If you smoke, you are responsible for
     the employee acknowledges that he/          maintaining the cleanliness of the
     she has a fiduciary responsibility to       smoking area by depositing cigarettes in
     safeguard the funds and assets of the       appropriate containers.
     company.
                                                 Because the smell of smoke can be
     Please see our cash handling guidelines     offensive to some people, employees
     for more information.                       who smoke and who then meet with
                                                 customers should be especially mindful
     The Great Smoke Out                         of the potential to offend customers. If
                                                 you hold a position that interfaces with
     At Southern HVAC, we are especially
                                                 customers, should we determine that
     sensitive to the needs and desires of our
                                                 your smoking odor is unacceptable, we
     customers. For this reason, employees
                                                 will address it with you and you will be
     may never smoke or use tobacco
                                                 expected to correct the problem.
     products (cigarettes, e-cigarettes, vape
     pens, cigars, pipes, chewing tobacco,
                                                 Confidentiality
     snuff (dip), etc.) in the presence of a
     customer or on customer property,           During the course of your employment,
     including construction sites. Smoking       you may have access to information
     and the use of tobacco products is          of a highly sensitive and confidential
     also prohibited in any business-related     nature. Confidential information comes
     meeting on or off company property.         in many forms, including, but not
     You must never smoke when handling          limited to company records; trade
     flammable materials.                        secrets; business secrets; customer
                                                 files and information (including personal
     Smoking and the use of tobacco
                                                 information about customers); medical
     products is not permitted inside of
                                                 information; computer files; vendor
     Southern HVAC’ vehicles, offices, or
                                                 or supplier information; development
     construction offices. Our nonsmoking/
                                                 plans; business information about
     tobacco policy also applies to business-
                                                 products, concepts, processes, services,
     related meetings both on and off
                                                 drawings, and know-how; customer lists
     company property. Smoking and use
                                                 (written or unwritten); secret inventions;
     of tobacco products is permitted in
                                                 discoveries; technological data;

72   January 2018
estimating procedures; proprietary        National Labor Relations Act and
software; results of research and         other applicable law, nothing in this
development; marketing research;          policy is intended to interfere with,
accounting records or reports;            restrain, or prohibit employees from
financial information about the           discussing wages, hours or other
owners; cost figures; customer fees,      terms and conditions of employment,
payments, and pricing information;        or engaging in other legally protected
business plans and strategies;            activity.
pending projects and proposals;
                                          You are required to abide by this
and other types of related company
                                          policy at all times while working for
information. You may not disclose,
                                          Southern HVAC and after separation.
duplicate, or use confidential
information, except as required in        *For the purpose of this policy,
the performance of your duties with       employee names, addresses,
Southern HVAC.                            telephone numbers, non-company
                                          email addresses, and employee lists
If you come into contact with
                                          may be disclosed if such information
confidential information (relating to
                                          comes to your attention (1) by
employees,* customers, the company,
                                          association with other employees
or others), you hold a special position
                                          or (2) in the normal course of work
of trust and confidence toward this
                                          activity, except when such information
data. This includes managers and
                                          is contained in internal business
employees with access to internal
                                          records and is obtained by, or is
business records (including payroll
                                          accessible only to, employees in
and personnel records) pertaining
                                          select positions, such as payroll.
to other employees. Unauthorized
use or disclosure, even if inadvertent,
compromises both you and Southern
                                                               Being
HVAC and can seriously erode the
                                                               Present
public confidence we work hard
                                                               and
to maintain. Failure to maintain
                                                               On
the confidentiality of confidential
                                                               Time 	
information is a serious violation        Surprise! The work doesn’t get done
of company policy that can lead           if you’re not here. You are expected
to disciplinary action, up to and         to arrive at work promptly each
including termination and/or possible     scheduled work day (including
legal action. In accordance with the      scheduled overtime) and be ready to

                                            ©2018 Southern HVAC Employee Guidebook   73
